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                               UNITED STATES DISTRICT COURT
                               EASTERN DIVISION OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                             CRIMINAL NO. 04-80857
               Plaintiff,
                                                             HON. LAWRENCE P. ZATKOFF
       v

CORNELL SMITH,

               Defendant.
                                           /

WAYNE F. PRATT (P 32528)
Assistant US Attorney
US Department of Justice
211 W Fort Street, #2001
Detroit, Michigan 48226
313/226.9583

SEYMOUR BERGER (P 10720)
Attorney for Defendant
24901 Northwestern Hwy, #513
Southfield, Michigan 48075
248/353.5131
                                           /

          ORDER EXTENDING THE SURRENDER DATE FOR
 CORNELL SMITH FROM FRIDAY MAY 26, 2006 TO FRIDAY, JUNE 9, 2006

       The Parties having entered into a Stipulation to extend the time for Cornell Smith to

surrender himself to the Bureau of Prisons or the United States Marshals from Friday, May 26, 2006

to Friday, June 9, 2006, the same having been filed, and said Stipulation having been based on the

representations made by Seymour Berger, Defense Attorney for Cornell Smith, that the Bureau of

Prisons has not as yet designated a facility for Cornell Smith and said designation which is subject

to medical review with the Bureau of Prisons, may not be completed for another seven (7) to ten



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(10) days, and this Honorable Court therefore deeming itself fully advised in the premises:

       IT IS HEREBY ORDERED that Cornell Smith shall surrender himself to a designated Bureau

of Prison facility or the United States Marshal not later than FRIDAY, JUNE 9, 2006 BY 2:00 P.M.



                                             s/Lawrence P. Zatkoff
                                             LAWRENCE P. ZATKOFF
                                             UNITED STATES DISTRICT JUDGE

Dated: May 25, 2006

                                   CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of this Order was served upon the attorneys of record
by electronic or U.S. mail on May 25, 2006.


                                             s/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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